            Case 1:23-cr-00278-JKB Document 41 Filed 09/19/23 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       :

       v.                                      :        Case No. 23-cr-0278 JKB

CHRISTOPHER BENDANN.                           :


                          MOTION TO WITHDRAW AS COUNSEL

       Undersigned counsel files this Motion to Withdraw as Counsel. In support of this Motion,

undersigned counsel states the following:

            1. On August 16, 2023, the federal government filed a sealed Indictment against

Christopher Bendann. Dkt. No. 1.

            2. On August 18, 2023, federal law enforcement officers arrested Mr. Bendann and a

federal prosecutor moved to unseal the Indictment. Dkt. No. 5.

            3. The same day, Kobie Flowers and Michael Abrams, of Brown, Goldstein & Levy

LLP, filed Limited Entries of Appearance for Mr. Bendann. Dkt. Nos. 12, 13. At the Initial

Appearance, Defense counsel explained to the Court that their limited appearances would at least

cover litigation of Mr. Bendann’s pretrial detention.

            4. On August 21, 2023, a magistrate judge held a detention hearing. Dkt. No. 18. That

judge ordered Mr. Bendann’s detention pending trial under 18 U.S.C. § 3142. Dkt. No. 20.

            5. This Court held a hearing on Mr. Bendann’s Motion for Review of the Magistrate’s

Detention Order on September 7, 2023. Dkt. No. 28. The Court issued an Order the same day,

holding that conditions of release are available to reasonably assure public safety pending trial

under 18 U.S.C. § 3142. Dkt. No. 30. Flight risk is not an issue in this case.
            Case 1:23-cr-00278-JKB Document 41 Filed 09/19/23 Page 2 of 3



            6. The Court held another hearing on September 14, 2023, to determine whether Mr.

Bendann and his proposed third-party custodian would be able to comply with the Court’s ordered

strict conditions of release. Dkt. No. 34. The Court determined that Mr. Bendann and his third-

party custodian were unable to comply, so the Court ordered Mr. Bendann detained pretrial, with

the option of filing a Motion for release in the future should compliance become attainable.

            7. In light of Mr. Bendann’s detention, Defense counsel requested a Speedy Trial

under the Sixth Amendment and 18 U.S.C. § 3161. Accordingly, the Court set the trial date for

October 23, 2023. Dkt. No. 38.

            8. Mr. Flowers and Mr. Abrams respectfully request the Court’s leave to withdraw as

counsel for Mr. Bendann for reasons that undersigned counsel cannot discuss because of counsel’s

on-going duty of loyalty to Mr. Bendann, the attorney-client privilege, and the work product

doctrine.

            9. Mr. Flowers and Mr. Abrams respectfully request that the Court appoint counsel

for Mr. Bendann.

            10. Undersigned counsel will work with subsequent counsel to guarantee both a smooth

transfer and a continued, constitutional, and zealous defense of Mr. Bendann.

       WHEREFORE, undersigned counsel respectfully request that this Court grant this Motion

and withdraw the appearances of undersigned counsel.




                                                2
          Case 1:23-cr-00278-JKB Document 41 Filed 09/19/23 Page 3 of 3



                                                  Respectfully submitted,




                                                  Kobie A. Flowers (# 16511)
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                                                  Counsel for Christopher Bendann




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this filing was served on all counsel of record via

the Court’s electronic filing service.



Date: September 19, 2023                                 s/ Kobie Flowers
                                                  Kobie Flowers




                                             3
